                    Case 2:13-cr-00086-DAD  Document
                                 IN THE UNITED STATES 57 Filed 03/14/16
                                                      DISTRICT  COURT Page 1 of 1
                                             EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,
                                Plaintiff,

                        v.                                CR NO: 2:13-CR-00086 GEB

STORMY MOLLISSA AVERS
AKA STORMY MYERS
                               Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:      STORMY MOLLISSA AVERS
Detained at            Sacramento County Jail
Detainee is:           a.)    ☐ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                charging detainee with:
                  or   b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:         a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or   b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

               Appearance is necessary [on FRIDAY MARCH 25, 2016] in the Eastern District of California.

                       Signature:                               /s/ Matthew G. Morris
                       Printed Name & Phone No:                 AUSA MATTHEW G. MORRIS 916-554-2771
                       Attorney of Record for:                  United States of America

                                             WRIT OF HABEAS CORPUS
                             ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, [on FRIDAY MARCH 25, 2016], and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
Dated:      March 11, 2016
                                                           Honorable Edmund F. Brennan
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if              STORMY MYERS                                                       ☐Male      ☒Female
Booking or CDC #:       09788293                                                           DOB:       03/03/1980
Facility Address:       651 "I" Street, Sacramento Ca 95814                                Race:
Facility Phone:         916-874-5111                                                       FBI#:
Currently               In custody

                                                   RETURN OF SERVICE
Executed on:
                                                             (signature)
